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 4
     Attorney for Defendant
 5   LOUISE BOOTH
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )       CR-F-09-CR 000142 LJO
                                          )
12         Plaintiff,                     )       STIPULATION TO
                                          )       CONTINUE COURT
13                                        )       PROCEEDINGS TO
                                          )       JUNE 23, 2011 TO
14         v.                             )       COINCIDE WITH STEVEN
                                          )       BOOTH PROCEEDINGS
15                                        )
                                          )
16                                        )       Date: June 23, 2011
     LOUISE BOOTH et al.                  )       Time: 8:30 a.m.
17                                        )       Court: LJO
           Defendants.                    )
18                                        )
19
           IT IS HEREBY STIPULATED BETWEEN COUNSEL FOR THE
20
     GOVERNMENT AND COUNSEL FOR DEFENDANT AS FOLLOWS:
21
           1. That the case against LOUISE BOOTH is scheduled to be dismissed at
22
     the time of her husband’s sentencing on June 23, 2011 at 8:30 a.m.
23
           2. That the statutorily mandated conditions of release, including the
24
     provision that defendant LOUISE BOOTH obey all laws, shall remain in full force
25
     and effect;
26
           3. That defendant LOUISE BOOTH waives any application of the Speedy
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28                                            1
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 1   Trial Act.
 2
 3   DATED: March 7, 2011                  /k/Katherine Hart
                                           KATHERINE HART, Attorney for
 4                                         LOUISE BOOTH
 5
     DATED: March 7, 2011                  /Mark Cullers
 6                                         MARK CULLERS, Chief, Fresno Office,
                                           OFFICE OF THE UNITED STATES
 7                                         ATTORNEY
 8
 9                                       ORDER
10           GOOD CAUSE APPEARING, it is hereby ordered as follows:
11           That the court appearance of LOUISE BOOTH, previously scheduled for
12   March 11, 2011 is to be rescheduled to June 23, 2011 at 8:30 a.m.
13           That LOUISE BOOTH is ordered to continue to comply with all statutorily
14   mandated conditions of Pretrial Release, including the provision that she obey all
15   laws.
16   IT IS SO ORDERED.
17   Dated:       March 7, 2011             /s/ Lawrence J. O'Neill
     b9ed48                             UNITED STATES DISTRICT JUDGE
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